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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


 DANIEL PLAUT, Individually and on Behalf of             Case No.
 All Others Similarly Situated,

                                   Plaintiff,            CLASS ACTION COMPLAINT
           v.

 THE GOLDMAN SACHS GROUP,
                                                         JURY TRIAL DEMANDED
 INC., LLOYD C. BLANKFEIN,
 HARVEY M. SCHWARTZ, and R.
 MARTIN CHAVEZ,

                                    Defendants.



         Plaintiff Daniel Plaut (“Plaintiff”), individually and on behalf of all other persons similarly

situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against Defendants, alleges

the following based upon personal knowledge as to Plaintiff and Plaintiff’s own acts, and

information and belief as to all other matters, based upon, inter alia, the investigation conducted

by and through Plaintiff’s attorneys, which included, among other things, a review of the

Defendants’ public documents, conference calls and announcements made by Defendants, United

States Securities and Exchange Commission (“SEC”) filings, wire and press releases published by

and regarding The Goldman Sachs Group, Inc. (“Goldman Sachs” or the “Company”), analysts’

reports and advisories about the Company, and information readily obtainable on the Internet.

Plaintiff believes that substantial evidentiary support will exist for the allegations set forth herein

after a reasonable opportunity for discovery.

                             NATURE OF THE ACTION AND OVERVIEW




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         1.     This is a federal securities class action on behalf of all persons and entities who

purchased or otherwise acquired Goldman Sachs securities between February 28, 2014, and

December 17, 2018, both dates inclusive (the “Class Period”), seeking to recover damages caused

by Defendants’ violations of the federal securities laws and to pursue remedies under Sections

10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”) and Rule 10b-5

promulgated thereunder, against the Company and certain of its top officials.

         2.     Goldman Sachs was founded in 1869 and is headquartered in New York, New

York. The Company operates as an investment banking, securities, and investment management

company worldwide, serving corporations, financial institutions, governments, and high-net-worth

individuals.

         3.     According to 2016 data compiled by Bloomberg, Goldman Sachs has “worked

on $18.8 billion of Malaysian mergers and acquisitions over the past five years, making it the top

foreign adviser with a 20.5[%] market share.” Goldman Sachs’s business in Malaysia included,

inter alia, raising funds for 1Malaysia Development Bhd. (“1MDB”), a Malaysian state-owned

investment fund set up in 2009, four months after Najib Razak (“Razak”) became Prime Minister

of Malaysia. 1MDB was initially established to finance infrastructure and economic deals in

Malaysia.

         4.     In 2012, officials from 1MDB met with Goldman Sachs in Hong Kong to discuss

a bond deal. Goldman Sachs subsequently raised $6.5 billion for 1MDB, earning approximately

$600 million in fees.

         5.     Since early 2015, 1MDB has been the subject of international criminal and

regulatory investigations for suspected fraud and money laundering after missing $11 billion in

payments owed to banks and bondholders.



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         6.     On June 18, 2015, The Wall Street Journal published an article entitled “Fund

Controversy Threatens Malaysia’s Leader,” detailing how 1MDB indirectly funded Razak’s 2013

election campaign. A probe into 1MDB subsequently followed.

         7.     On July 2, 2015, The Wall Street Journal published another article, entitled

“Investigators Believe Money Flowed to Malaysian Leader Najib’s Accounts Amid 1MDB

Probe,” reporting how Malaysian investigators traced nearly $700 million in deposits to what they

believed to be Razak’s personal bank accounts.

         8.     According to the U.S. Department of Justice, high-level 1MDB officials and their

associates misappropriated an estimated $4.5 billion from 1MDB between 2009 and 2014.

Implicated in the 1MDB scandal were two former Goldman Sachs managing directors— Tim

Leissner (“Leissner”) and Ng Chong Hwa, also known as Roger Ng (“Ng”).

         9.     Leissner was Chairman of South East Asia and Vice Chairman of the Investment

Banking Division in Asia Ex-Japan (i.e., Asia, excluding Japan) for Goldman Sachs.

         10.    Ng was a former Goldman Sachs banker, managing director, and deputy to

Leissner. Ng most recently was the head of South-East Asian sales in Goldman Sachs’s fixed-

income, currencies, and commodities unit.

         11.    Throughout the Class Period, Defendants made materially false and misleading

statements regarding the Company’s business, operational and compliance policies. Specifically,

Defendants made false and/or misleading statements and/or failed to disclose that: (i) Goldman

Sachs participated in a fraud and money-laundering scheme in collusion with 1MDB; (ii) the

foregoing conduct, when revealed, would foreseeably subject Goldman Sachs to heightened

regulatory investigation and enforcement; and (iii) as a result, Goldman Sachs’s public statements

were materially false and misleading at all relevant times.



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         12.    On March 7, 2016, Bloomberg News published an article entitled “Ex-Goldman

Banker to Malaysia Fund Said Subpoenaed in U.S. Probe,” reporting that the U.S. Justice

Department had subpoenaed Leissner in late February in connection with a probe linked to 1MDB.

Goldman Sachs has since been the subject of investigations by the U.S. Justice Department

regarding the multibillion-dollar fraud and money-laundering scheme involving 1MDB, for which

Goldman Sachs was the primary bond underwriter.

         13.    Following this news, Goldman Sachs’s stock price fell $3.75 per share, or 2.41%,

to close at $151.60 on March 8, 2016.

         14.    On November 1, 2018, U.S. federal prosecutors in the Eastern District of New

York (“E.D.N.Y.”) unsealed indictments against Leissner and Ng related to the 1MDB probe,

explicitly describing them as “agents acting within the scope of their employment on behalf of”

the Company “with the intent, at least in part, to benefit” Goldman Sachs. That same day, the

United States Attorney’s Office for the E.D.N.Y. announced that Leissner’s guilty plea was

unsealed for “a two-count criminal information charging Leissner with conspiring to launder

money and conspiring to violate the FCPA [Foreign Corrupt Practices Act] by both paying bribes

to various Malaysian and Abu Dhabi officials and circumventing the internal accounting controls

of the Financial Institution while he was employed by it.” The U.S. Attorney’s Office also stated

that, “[a]ccording to court filings, Leissner has been ordered to forfeit $43,700,000 as a result of

his crimes.”

         15.    On November 8, 2018, a report by Bloomberg News detailed the personal

involvement of Goldman Sachs’s then-Chief Executive Officer (“CEO”), Lloyd Blankfein, in a

meeting to establish ties with Malaysia and its new sovereign wealth fund that was referenced in

the court documents unsealed the prior week. In a November 8, 2018 article entitled “Goldman’s



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Blankfein Said to Have Attended 2009 1MDB Meeting,” Bloomberg News noted that “Blankfein

was the unidentified high-ranking Goldman Sachs executive referenced in U.S. court documents

who attended a 2009 meeting with the former Malaysian prime minister,” and that “[t]he meeting

was arranged with the help of men who are now tied to the subsequent plundering of the 1MDB

fund[.]”

         16.    On this news, Goldman Sachs’s stock price fell by $9.00, or nearly 4%, closing at

$222.65 on November 9, 2018.

         17.    On November 12, 2018, Malaysian government officials denounced Goldman

Sachs’s role in the 1MDB scandal. Malaysian Prime Minister Mahathir Mohamad stated that

“[t]here is evidence that Goldman Sachs has done things that are wrong” and “[o]bviously we have

been cheated through the compliance by Goldman Sachs people.” Meanwhile, the country’s

Finance Minister Lim Guan Eng said that Malaysia would seek a “full refund” of the

approximately $600 million in fees that the Company earned in connection with 1MDB’s $6.5

billion bond deal.

         18.    Following this news, Goldman Sachs’s stock price fell $16.60 per share, or nearly

7.5%, to close at $206.05 on November 12, 2018.

         19.    On December 17, 2018, multiple news outlets reported that Malaysia had filed

criminal charges against Goldman Sachs and two former executives for their role in the 1MDB

fraud and money-laundering scandal. That same day, in response to these charges, Goldman Sachs

denied any wrongdoing through its spokesman Edward Naylor, who stated: “We believe these

charges are misdirected and we will vigorously defend them and look forward to the opportunity

to present our case . . . . The firm continues to cooperate with all authorities investigating these

matters.”



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         20.    Following this news, Goldman Sachs’s stock price fell $4.76 per share, or 2.76%,

to close at $168.01 on December 17, 2018.

         21.    As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.

                                    JURISDICTION AND VENUE

         22.    The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act, 15 U.S.C. §§ 78j(b) and 78t(a), and Rule 10b-5 promulgated thereunder, 17 C.F.R. §

240.10b-5.

         23.    This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and Section 27 of the Exchange Act, 15 U.S.C. § 78aa.

         24.    Venue is proper in this District pursuant to Section 27 of the Exchange Act, 15

U.S.C. § 78aa, and 28 U.S.C. § 1391(b). Goldman Sachs is headquartered in this District,

Defendants conduct business in this District, and a significant portion of Defendants’ actions took

place within this District.

         25.    In connection with the acts alleged in this complaint, Defendants, directly or

indirectly, used the means and instrumentalities of interstate commerce, including, but not limited

to, the mails, interstate telephone communications, and the facilities of the national securities

markets.

                                            PARTIES

         26.    Plaintiff, as set forth in the attached Certification, acquired Goldman Sachs shares

at artificially inflated prices during the Class Period and was damaged upon the revelation of the

alleged corrective disclosures.



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         27.    Defendant Goldman Sachs is a Delaware corporation with its principal executive

offices located at 200 West Street, New York, New York. Goldman Sachs’s shares trade in an

efficient market on the New York Stock Exchange (“NYSE”) under the ticker symbol “GS.”

         28.    Defendant Blankfein served as the CEO of Goldman Sachs between June 2006 and

September 2018.

         29.    Defendant Harvey M. Schwartz served as the Chief Financial Officer (“CFO”) of

Goldman Sachs between January 2013 and May 2017.

         30.    Defendant R. Martin Chavez served as the CFO of Goldman Sachs between May

2017 and November 2018.

         31.    The Defendants referenced above in ¶¶ 28-30 are sometimes referred to herein

collectively as the “Individual Defendants.”

         32.    The Individual Defendants possessed the power and authority to control the

contents of the Company’s SEC filings, press releases, and other market communications. The

Individual Defendants were provided with copies of the Company’s SEC filings and press releases

alleged herein to be misleading prior to or shortly after their issuance and had the ability and

opportunity to prevent their issuance or to cause them to be corrected. Because of their positions

with the Company, and their access to material information available to them but not to the public,

the Individual Defendants knew that the adverse facts specified herein had not been disclosed to

and were being concealed from the public, and that the positive representations being made were

then materially false and misleading. The Individual Defendants are liable for the false statements

and omissions pleaded herein.

                              SUBSTANTIVE ALLEGATIONS
                                     Background




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          33.   Goldman Sachs was founded in 1869 and is headquartered in New York, New

York. The Company operates as an investment banking, securities, and investment management

company worldwide, serving corporations, financial institutions, governments, and high-net-worth

individuals. Goldman Sachs’s common stock trades on the NYSE under the ticker symbol “GS”.

          34.   According to 2016 data compiled by Bloomberg, Goldman Sachs “worked

on $18.8 billion of Malaysian mergers and acquisitions over the past five years, making it the top

foreign adviser with a 20.5[%] market share.” Goldman Sachs’s business in Malaysia included

raising funds for 1MDB, a Malaysian state-owned investment fund set up in 2009, four months

after Razak became Prime Minister of Malaysia. 1MDB was initially established to finance

infrastructure and economic deals in Malaysia.

          35.   In 2012, officials from 1MDB met with Goldman Sachs in Hong Kong to discuss

a bond deal. Goldman Sachs subsequently raised $6.5 billion for 1MDB, acquiring approximately

$600 million in fees.

          36.   Two Goldman Sachs managing directors in particular were closely involved with

1MDB: Tim Leissner, Chairman of South East Asia and Vice Chairman of the Investment Banking

Division in Asia Ex-Japan; and his deputy Roger Ng, head of South-East Asian sales in Goldman

Sachs’s fixed-income, currencies, and commodities unit.

          Materially False and Misleading Statements Issued During the Class Period

         37.    The Class Period begins on February 28, 2014, when Goldman Sachs filed an

Annual Report on Form 10-K with the SEC, announcing the Company’s financial and operating

results for the quarter and year ended December 31, 2013 (the “2013 10-K”). According to the

2013 10-K, Asia accounted for $5.52 billion, or 16%, of total net revenues, and $1.35 billion, or

17%, of Goldman Sachs’s total pre-tax earnings in 2013.



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         38.    The 2013 10-K contained merely generic, boilerplate representations with respect

to the Company’s risk of regulatory enforcement “relating to corrupt and illegal payments and

money laundering,” citing “the geographical diversity of [Goldman Sachs’s] operations,

employees, clients and customers, as well as the vendors and other third parties that [the Company]

deal[s] with,” while touting Goldman Sachs’s purported prior and continuing investment in

“significant resources in training and in compliance monitoring.”

         39.    Appended as exhibits to the 2013 10-K were signed certifications pursuant by

Defendants Blankfein and Schwartz, attesting “that the Company’s Annual Report on Form 10-K

for the year ended December 31, 2013 . . . fully complies with the requirements of Section 13(a)

or 15(d), as applicable, of the Securities Exchange Act of 1934 and that the information contained

in the Report fairly presents, in all material respects, the financial condition and results of

operations of the Company.”

         40.    On February 23, 2015, Goldman Sachs filed an Annual Report on Form 10-K with

the SEC, announcing the Company’s financial and operating results for the quarter and year ended

December 31, 2014 (the “2014 10-K”). According to the 2014 10-K, Asia accounted for $5.41

billion, or 16%, of total net revenues, and $1.43 billion, or 17%, of Goldman Sachs’s total pre-tax

earnings in 2014.

         41.    The 2014 10-K contained merely generic, boilerplate representations with respect

to the Company’s risk of regulatory enforcement “relating to corrupt and illegal payments and

money laundering,” citing “the geographical diversity of [Goldman Sachs’s] operations,

employees, clients and customers, as well as the vendors and other third parties that [the Company]

deal[s] with,” while touting Goldman Sachs’s purported prior and continuing investment in

“significant resources in training and in compliance monitoring.”



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         42.    Appended as exhibits to the 2014 10-K were signed certifications pursuant by

Defendants Blankfein and Schwartz, attesting “that the Company’s Annual Report on Form 10-K

for the year ended December 31, 2014 . . . fully complies with the requirements of Section 13(a)

or 15(d), as applicable, of the Securities Exchange Act of 1934 and that the information contained

in the Report fairly presents, in all material respects, the financial condition and results of

operations of the Company.”

         43.    News of misconduct associated at 1MDB began to emerge in early 2015, although

without initially implicating Goldman Sachs. On June 18, 2015, The Wall Street Journal published

an article entitled “Fund Controversy Threatens Malaysia’s Leader,” detailing how 1MDB

indirectly funded Razak’s 2013 election campaign. A probe into 1MDB subsequently followed.

         44.    On July 2, 2015, The Wall Street Journal published another article, entitled

“Investigators Believe Money Flowed to Malaysian Leader Najib’s Accounts Amid 1MDB

Probe,” reporting how Malaysian investigators traced nearly $700 million in deposits to what they

believed to be Razak’s personal bank accounts.

         45.    Nevertheless, Goldman Sachs continued to conceal its role in the growing 1MDB

scandal. On February 22, 2016, Goldman Sachs filed an Annual Report on Form 10-K with the

SEC, announcing the Company’s financial and operating results for the quarter and year ended

December 31, 2015 (the “2015 10-K”). According to the 2015 10-K, Asia accounted for $5.64

billion, or 17%, of total net revenues, and $1.69 billion, or 27%, of Goldman Sachs’s total pre-tax

earnings in 2015.

         46.    The 2015 10-K again contained merely generic, boilerplate representations with

respect to the Company’s risk of regulatory enforcement “relating to corrupt and illegal payments

and money laundering,” citing “the geographical diversity of [Goldman Sachs’s] operations,



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employees, clients and customers, as well as the vendors and other third parties that [the Company]

deal[s] with,” while touting Goldman Sachs’s purported prior and continuing investment in

“significant resources in training and in compliance monitoring.”

         47.    Appended as exhibits to the 2015 10-K were signed certifications pursuant by

Defendants Blankfein and Schwartz, attesting “that the Company’s Annual Report on Form 10-K

for the year ended December 31, 2015 . . . fully complies with the requirements of Section 13(a)

or 15(d), as applicable, of the Securities Exchange Act of 1934 and that the information contained

in the Report fairly presents, in all material respects, the financial condition and results of

operations of the Company.”

         48.    The statements referenced in ¶¶ 37-42 and 45-47 were materially false and

misleading because Defendants made false and/or misleading statements, as well as failed to

disclose material adverse facts about the Company’s business, operational and compliance

policies. Specifically, Defendants made false and/or misleading statements and/or failed to

disclose that: (i) Goldman Sachs participated in a fraud and money-laundering scheme in collusion

with 1MDB; (ii) the foregoing conduct, when revealed, would foreseeably subject Goldman Sachs

to heightened regulatory investigation and enforcement; and (iii) as a result, Goldman Sachs’s

public statements were materially false and misleading at all relevant times.

                                 The Truth Begins To Emerge

         49.    On March 7, 2016, Bloomberg News published an article entitled “Ex-Goldman

Banker to Malaysia Fund Said Subpoenaed in U.S. Probe,” reporting that the U.S. Justice

Department had subpoenaed Leissner in late February in connection with a probe linked to 1MDB.

         50.    Following this news, Goldman Sachs’s stock price fell $3.75 per share, or 2.41%,

to close at $151.60 on March 8, 2016.



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         51.     Nonetheless, Goldman Sachs continued to deny any culpability in connection with

1MDB-related misconduct. On or around July 20, 2016, amid news from multiple news outlets

that the FBI and other U.S. regulators were investigating Goldman Sachs’s role in the 1MDB fraud

and money-laundering scandal, a spokesman for Goldman Sachs stated: “We helped raise money

for a sovereign wealth fund that was designed to invest in Malaysia. We had no visibility into

whether some of those funds may have been subsequently diverted to other purposes.”

(Emphasis added.)

         52.     On August 4, 2016, Goldman Sachs filed a Quarterly Report on Form 10-Q with

the SEC, announcing the Company’s financial and operating results for the quarter ended June 30,

2016 (the “Q2 2016 10-Q”). According to the Q2 2016 10-Q, Asia accounted for $897 million, or

11%, of total net revenues, and $214 million, or 9%, of Goldman Sachs’s total pre-tax earnings for

the quarter.

         53.     The Q2 2016 10-Q’s discussion of “Regulatory Investigations and Reviews and

Related Litigation” merely stated, in relevant part:

         [Goldman Sachs] and certain of its affiliates are subject to a number of other
         investigations and reviews by, and in some cases have received subpoenas and
         requests for documents and information from, various governmental and regulatory
         bodies and self-regulatory organizations and litigation and shareholder requests
         relating to various matters relating to the firm’s businesses and operations,
         including . . . [t]ransactions involving government-related financings and other
         matters, including those related to 1Malaysia Development Berhad (1MDB), a
         sovereign wealth fund in Malaysia, municipal securities, including wall-cross
         procedures and conflict of interest disclosure with respect to state and municipal
         clients, the trading and structuring of municipal derivative instruments in
         connection with municipal offerings, political contribution rules, municipal
         advisory services and the possible impact of credit default swap transactions on
         municipal issuers[.]




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(Emphasis added.) Notably, this boilerplate statement wholly failed to disclose the participation

of high-level Goldman Sachs personnel, including two former managing directors (Leissner and

Ng), in fraud and money laundering.

         54.    On November 3, 2016, Goldman Sachs filed a Quarterly Report on Form 10-Q

with the SEC, announcing the Company’s financial and operating results for the quarter and year

ended September 30, 2016 (the “Q3 2016 10-Q”). According to the Q3 2016 10-Q, Asia accounted

for $1.39 billion, or 17%, of total net revenues, and $543 million, or 19%, of Goldman Sachs’s

total pre-tax earnings for the quarter.

         55.    With respect to the 1MDB scandal, the Q3 2016 10-Q’s discussion of “Regulatory

Investigations and Reviews and Related Litigation” merely included another boilerplate statement,

substantively similar to the representations described supra at ¶ 53, that wholly failed to disclose

the participation of high-level Goldman Sachs personnel in fraud and money laundering.

         56.    On February 27, 2017, Goldman Sachs filed an Annual Report on Form 10-K with

the SEC, announcing the Company’s financial and operating results for the quarter and year ended

December 31, 2016 (the “2016 10-K”). According to the 2016 10-K, Asia accounted for $4.42

billion, or 14%, of total net revenues, and $870 million, or 12%, of Goldman Sachs’s total pre-tax

earnings in 2016.

         57.    With respect to the 1MDB scandal, the 2016 10-K’s discussion of “Regulatory

Investigations and Reviews and Related Litigation” merely included another boilerplate statement,

substantively similar to the representations described supra at ¶ 53, that wholly failed to disclose

the participation of high-level Goldman Sachs personnel in fraud and money laundering.

         58.    Likewise, the 2016 10-K contained merely generic, boilerplate representations

with respect to the Company’s risk of regulatory enforcement “relating to corrupt and illegal



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payments and money laundering,” citing “the geographical diversity of [Goldman Sachs’s]

operations, employees, clients and customers, as well as the vendors and other third parties that

[the Company] deal[s] with,” while touting Goldman Sachs’s purported prior and continuing

investment in “significant resources in training and in compliance monitoring.”

         59.       Appended as exhibits to the 2016 10-K were signed certifications pursuant by

Defendants Blankfein and Schwartz, attesting “that the Company’s Annual Report on Form 10-K

for the year ended December 31, 2016 . . . fully complies with the requirements of Section 13(a)

or 15(d), as applicable, of the Securities Exchange Act of 1934 and that the information contained

in the Report fairly presents, in all material respects, the financial condition and results of

operations of the Company.”

         60.       On May 4, 2017, Goldman Sachs filed a Quarterly Report on Form 10-Q with the

SEC, announcing the Company’s financial and operating results for the quarter ended March 31,

2017 (the “Q1 2017 10-Q”). According to the Q1 2016 10-Q, Asia accounted for $1.21 billion, or

15%, of total net revenues, and $393 million, or 15%, of Goldman Sachs’s total pre-tax earnings

for the quarter.

         61.       With respect to the 1MDB scandal, the Q1 2017 10-Q’s discussion of “Regulatory

Investigations and Reviews and Related Litigation” merely included another boilerplate statement,

substantively similar to the representations described supra at ¶ 53, that wholly failed to disclose

the participation of high-level Goldman Sachs personnel in fraud and money laundering.

         62.       On August 4, 2017, Goldman Sachs filed a Quarterly Report on Form 10-Q with

the SEC, announcing the Company’s financial and operating results for the quarter ended June 30,

2017 (the “Q2 2017 10-Q”). According to the Q2 2017 10-Q, Asia accounted for $946 million, or




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12%, of total net revenues, and $233 million, or 9%, of Goldman Sachs’s total pre-tax earnings for

the quarter.

         63.     With respect to the 1MDB scandal, the Q2 2017 10-Q’s discussion of “Regulatory

Investigations and Reviews and Related Litigation” merely included another boilerplate statement,

substantively similar to the representations described supra at ¶ 53, that wholly failed to disclose

the participation of high-level Goldman Sachs personnel in fraud and money laundering.

         64.     On November 3, 2017, Goldman Sachs filed a Quarterly Report on Form 10-Q

with the SEC, announcing the Company’s financial and operating results for the quarter ended

September 30, 2017 (the “Q3 2017 10-Q”). According to the Q3 2017 10-Q, Asia accounted for

$1.39 billion, or 17%, of total net revenues, and $514 million, or 17%, of Goldman Sachs’s total

pre-tax earnings for the quarter.

         65.     With respect to the 1MDB scandal, the Q3 2017 10-Q contained merely the

following boilerplate representation:

         1Malaysia Development Berhad (1MDB)-Related Matters
         The firm has received subpoenas and requests for documents and information from
         various governmental and regulatory bodies and self-regulatory organizations as
         part of investigations and reviews relating to financing transactions and other
         matters involving 1MDB, a sovereign wealth fund in Malaysia. The firm is
         cooperating with all such governmental and regulatory investigations and reviews.

Again, this wholly failed to disclose the participation of high-level Goldman Sachs personnel in

fraud and money laundering.

         66.     On February 26, 2018, Goldman Sachs filed an Annual Report on Form 10-K with

the SEC, announcing the Company’s financial and operating results for the quarter and year ended

December 31, 2017 (the “2017 10-K”). According to the 2017 10-K, Asia accounted for $4.82

billion, or 15%, of total net revenues, and $1.24 billion, or 28%, of Goldman Sachs’s total pre-tax

earnings in 2017.

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         67.       With respect to the 1MDB scandal, the 2017 10-K merely included another

boilerplate statement, under the heading “1Malaysia Development Berhad (1MDB)-Related

Matters”, substantively similar to the representations described supra at ¶ 65, that wholly failed to

disclose the participation of high-level Goldman Sachs personnel in fraud and money laundering.

         68.       Likewise, the 2017 10-K contained merely generic, boilerplate representations

with respect to the Company’s risk of regulatory enforcement “relating to corrupt and illegal

payments and money laundering,” citing “the geographical diversity of [Goldman Sachs’s]

operations, employees, clients and customers, as well as the vendors and other third parties that

[the Company] deal[s] with,” while touting Goldman Sachs’s purported prior and continuing

investment in “significant resources in training and in compliance monitoring.”

         69.       Appended as exhibits to the 2017 10-K were signed certifications pursuant by

Defendants Blankfein and Chavez, attesting “that the Company’s Annual Report on Form 10-K

for the year ended December 31, 2017 . . . fully complies with the requirements of Section 13(a)

or 15(d), as applicable, of the Securities Exchange Act of 1934 and that the information contained

in the Report fairly presents, in all material respects, the financial condition and results of

operations of the Company.”

         70.       On May 4, 2018, Goldman Sachs filed a Quarterly Report on Form 10-Q with the

SEC, announcing the Company’s financial and operating results for the quarter ended March 31,

2017 (the “Q1 2018 10-Q”). According to the Q1 2018 10-Q, Asia accounted for $1.55 billion, or

15%, of total net revenues, and $533 million, or 16%, of Goldman Sachs’s total pre-tax earnings

for the quarter.

         71.       With respect to the 1MDB scandal, the Q1 2018 10-Q merely included another

boilerplate statement, under the heading “1Malaysia Development Berhad (1MDB)-Related



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Matters”, substantively similar to the representations described supra at ¶ 65, that wholly failed to

disclose the participation of high-level Goldman Sachs personnel.

         72.    On August 3, 2018, Goldman Sachs filed a Quarterly Report on Form 10-Q with

the SEC, announcing the Company’s financial and operating results for the quarter ended June 30,

2018 (the “Q2 2018 10-Q”). According to the Q2 2018 10-Q, Asia accounted for $1.11 billion, or

12%, of total net revenues, and $234 million, or 7%, of Goldman Sachs’s total pre-tax earnings for

the quarter.

         73.    With respect to the 1MDB scandal, the Q2 2018 10-Q merely included another

boilerplate statement, under the heading “1Malaysia Development Berhad (1MDB)-Related

Matters”, substantively similar to the representations described supra at ¶ 65, that wholly failed to

disclose the participation of high-level Goldman Sachs personnel in fraud and money laundering.

         74.    The statements referenced in ¶¶ 51-73 were materially false and misleading

because Defendants made false and/or misleading statements, as well as failed to disclose material

adverse facts about the Company’s business, operational and compliance policies. Specifically,

Defendants made false and/or misleading statements and/or failed to disclose that: (i) Goldman

Sachs participated in a fraud and money-laundering scheme in collusion with 1MDB; (ii) the

foregoing conduct, when revealed, would foreseeably subject Goldman Sachs to heightened

regulatory investigation and enforcement; and (iii) as a result, Goldman Sachs’s public statements

were materially false and misleading at all relevant times.

         75.    On November 1, 2018, U.S. federal prosecutors in the E.D.N.Y. unsealed

indictments against Leissner and Ng related to the 1MDB probe, explicitly describing them as

“agents acting within the scope of their employment on behalf of” the Company “with the intent,

at least in part, to benefit” Goldman Sachs. That same day, the United States Attorney’s Office



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for the E.D.N.Y. announced that Leissner’s guilty plea was unsealed for “a two-count criminal

information charging Leissner with conspiring to launder money and conspiring to violate the

FCPA [Foreign Corrupt Practices Act] by both paying bribes to various Malaysian and Abu Dhabi

officials and circumventing the internal accounting controls of the Financial Institution while he

was employed by it.” The U.S. Attorney’s Office also stated that, “[a]ccording to court filings,

Leissner has been ordered to forfeit $43,700,000 as a result of his crimes.”

         76.    On November 8, 2018, a report by Bloomberg News detailed the personal

involvement of Blankfein in a meeting to establish ties with Malaysia and its new sovereign wealth

fund that was referenced in the court documents unsealed the prior week. In a November 8, 2018

article entitled “Goldman’s Blankfein Said to Have Attended 2009 1MDB Meeting,” Bloomberg

News noted that “Blankfein was the unidentified high-ranking Goldman Sachs executive

referenced in U.S. court documents who attended a 2009 meeting with the former Malaysian prime

minister,” and that “[t]he meeting was arranged with the help of men who are now tied to the

subsequent plundering of the 1MDB fund[.]”

         77.    On this news, Goldman Sachs’s stock price fell by $9.00, or nearly 4%, closing at

$222.65 on November 9, 2018.

         78.    On November 12, 2018, Malaysian government officials denounced Goldman

Sachs’s role in the 1MDB scandal. Malaysian Prime Minister Mahathir Mohamad stated that

“[t]here is evidence that Goldman Sachs has done things that are wrong” and “[o]bviously we have

been cheated through the compliance by Goldman Sachs people.” Meanwhile, the country’s

Finance Minister Lim Guan Eng said that Malaysia would seek a “full refund” of the

approximately $600 million in fees that the Company earned in connection with 1MDB’s $6.5

billion bond deal.



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         79.    Following this news, Goldman Sachs’s stock price fell $16.60 per share, or nearly

7.5%, to close at $206.05 on November 12, 2018.

         80.    On December 17, 2018, multiple news outlets reported that Malaysia had filed

criminal charges against Goldman Sachs and two former executives for their role in the 1MDB

fraud and money-laundering scandal. That same day, in response to these charges, Goldman Sachs

denied any wrongdoing through its spokesman Edward Naylor, who stated: “We believe these

charges are misdirected and we will vigorously defend them and look forward to the opportunity

to present our case . . . . The firm continues to cooperate with all authorities investigating these

matters.”

         81.    Following this news, Goldman Sachs’s stock price fell $4.76 per share, or 2.76%,

to close at $168.01 on December 17, 2018.

         82.    As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.

                      PLAINTIFF’S CLASS ACTION ALLEGATIONS

         83.    Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or otherwise

acquired Goldman Sachs securities during the Class Period (the “Class”); and were damaged upon

the revelation of the alleged corrective disclosures. Excluded from the Class are Defendants herein,

the officers and directors of the Company, at all relevant times, members of their immediate

families and their legal representatives, heirs, successors or assigns and any entity in which

Defendants have or had a controlling interest.

         84.    The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Goldman Sachs securities were actively traded on
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the NYSE. While the exact number of Class members is unknown to Plaintiff at this time and can

be ascertained only through appropriate discovery, Plaintiff believes that there are hundreds or

thousands of members in the proposed Class. Record owners and other members of the Class may

be identified from records maintained by Goldman Sachs or its transfer agent and may be notified

of the pendency of this action by mail, using the form of notice similar to that customarily used in

securities class actions.

         85.        Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

         86.        Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation. Plaintiff has

no interests antagonistic to or in conflict with those of the Class.

         87.        Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                •    whether the federal securities laws were violated by Defendants’ acts as alleged
                     herein;

                •    whether statements made by Defendants to the investing public during the Class
                     Period misrepresented material facts about the business, operations and
                     management of Goldman Sachs;

                •    whether the Individual Defendants caused Goldman Sachs to issue false and
                     misleading financial statements during the Class Period;

                •    whether Defendants acted knowingly or recklessly in issuing false and misleading
                     financial statements;

                •    whether the prices of Goldman Sachs securities during the Class Period were
                     artificially inflated because of the Defendants’ conduct complained of herein; and


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                •    whether the members of the Class have sustained damages and, if so, what is the
                     proper measure of damages.

         88.        A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden

of individual litigation make it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this action as a class action.

         89.        Plaintiff will rely, in part, upon the presumption of reliance established by the fraud-

on-the-market doctrine in that:

                •     Defendants made public misrepresentations or failed to disclose material facts
                      during the Class Period;

                •     the omissions and misrepresentations were material;

                •     Goldman Sachs securities are traded in an efficient market;

                •     the Company’s shares were liquid and traded with moderate to heavy volume
                      during the Class Period;

                •     the Company traded on the NYSE and was covered by multiple analysts;

                •     the misrepresentations and omissions alleged would tend to induce a reasonable
                      investor to misjudge the value of the Company’s securities; and

                •     Plaintiff and members of the Class purchased, acquired and/or sold Goldman
                      Sachs securities between the time the Defendants failed to disclose or
                      misrepresented material facts and the time the true facts were disclosed, without
                      knowledge of the omitted or misrepresented facts.

         90.        Based upon the foregoing, Plaintiff and the members of the Class are entitled to a

presumption of reliance upon the integrity of the market.

         91.        Alternatively, Plaintiff and the members of the Class are entitled to the presumption

of reliance established by the Supreme Court in Affiliated Ute Citizens of the State of Utah v.




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United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material information in

their Class Period statements in violation of a duty to disclose such information, as detailed above.

                                             COUNT I

 (Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated Thereunder
                                    Against All Defendants)

         92.    Plaintiff repeats and realleges each and every allegation contained above as if fully

set forth herein.

         93.    This Count is asserted against Defendants and is based upon Section 10(b) of the

Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.

         94.    During the Class Period, Defendants engaged in a plan, scheme, conspiracy and

course of conduct, pursuant to which they knowingly or recklessly engaged in acts, transactions,

practices and courses of business which operated as a fraud and deceit upon Plaintiff and the other

members of the Class; made various untrue statements of material facts and omitted to state

material facts necessary in order to make the statements made, in light of the circumstances under

which they were made, not misleading; and employed devices, schemes and artifices to defraud in

connection with the purchase and sale of securities. Such scheme was intended to, and, throughout

the Class Period, did: (i) deceive the investing public, including Plaintiff and other Class members,

as alleged herein; (ii) artificially inflate and maintain the market price of Goldman Sachs securities;

and (iii) cause Plaintiff and other members of the Class to purchase or otherwise acquire Goldman

Sachs securities and options at artificially inflated prices. In furtherance of this unlawful scheme,

plan and course of conduct, Defendants, and each of them, took the actions set forth herein.

         95.    Pursuant to the above plan, scheme, conspiracy and course of conduct, each of the

Defendants participated directly or indirectly in the preparation and/or issuance of the quarterly

and annual reports, SEC filings, press releases and other statements and documents described

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above, including statements made to securities analysts and the media that were designed to

influence the market for Goldman Sachs securities. Such reports, filings, releases and statements

were materially false and misleading in that they failed to disclose material adverse information

and misrepresented the truth about Goldman Sachs finances and business prospects.

         96.     By virtue of their positions at Goldman Sachs , Defendants had actual knowledge

of the materially false and misleading statements and material omissions alleged herein and

intended thereby to deceive Plaintiff and the other members of the Class, or, in the alternative,

Defendants acted with reckless disregard for the truth in that they failed or refused to ascertain and

disclose such facts as would reveal the materially false and misleading nature of the statements

made, although such facts were readily available to Defendants. Said acts and omissions of

Defendants were committed willfully or with reckless disregard for the truth. In addition, each

Defendant knew or recklessly disregarded that material facts were being misrepresented or omitted

as described above.

         97.    Information showing that Defendants acted knowingly or with reckless disregard

for the truth is peculiarly within Defendants’ knowledge and control. As the senior managers

and/or directors of Goldman Sachs, the Individual Defendants had knowledge of the details of

Goldman Sachs internal affairs.

         98.    The Individual Defendants are liable both directly and indirectly for the wrongs

complained of herein.      Because of their positions of control and authority, the Individual

Defendants were able to and did, directly or indirectly, control the content of the statements of

Goldman Sachs.        As officers and/or directors of a publicly-held Company, the Individual

Defendants had a duty to disseminate timely, accurate, and truthful information with respect to

Goldman Sachs businesses, operations, future financial condition and future prospects. As a result



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of the dissemination of the aforementioned false and misleading reports, releases and public

statements, the market price of Goldman Sachs securities was artificially inflated throughout the

Class Period. In ignorance of the adverse facts concerning Goldman Sachs business and financial

condition which were concealed by Defendants, Plaintiff and the other members of the Class

purchased or otherwise acquired Goldman Sachs securities at artificially inflated prices and relied

upon the price of the securities, the integrity of the market for the securities and/or upon statements

disseminated by Defendants, and were damaged thereby.

         99.    During the Class Period, Goldman Sachs securities were traded on an active and

efficient market. Plaintiff and the other members of the Class, relying on the materially false and

misleading statements described herein, which the Defendants made, issued or caused to be

disseminated, or relying upon the integrity of the market, purchased or otherwise acquired shares

of Goldman Sachs securities at prices artificially inflated by Defendants’ wrongful conduct. Had

Plaintiff and the other members of the Class known the truth, they would not have purchased or

otherwise acquired said securities, or would not have purchased or otherwise acquired them at the

inflated prices that were paid. At the time of the purchases and/or acquisitions by Plaintiff and the

Class, the true value of Goldman Sachs securities was substantially lower than the prices paid by

Plaintiff and the other members of the Class. The market price of Goldman Sachs securities

declined sharply upon public disclosure of the facts alleged herein to the injury of Plaintiff and

Class members.

         100.   By reason of the conduct alleged herein, Defendants knowingly or recklessly,

directly or indirectly, have violated Section 10(b) of the Exchange Act and Rule 10b-5

promulgated thereunder.




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          101.   As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

other members of the Class suffered damages in connection with their respective purchases,

acquisitions and sales of the Company’s securities during the Class Period, upon the disclosure

that the Company had been disseminating misrepresented financial statements to the investing

public.

                                              COUNT II

     (Violations of Section 20(a) of the Exchange Act Against The Individual Defendants)

          102.   Plaintiff repeats and reallege each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

          103.   During the Class Period, the Individual Defendants participated in the operation

and management of Goldman Sachs, and conducted and participated, directly and indirectly, in the

conduct of Goldman Sachs business affairs. Because of their senior positions, they knew the

adverse non-public information about Goldman Sachs misstatement of income and expenses and

false financial statements.

          104.   As officers and/or directors of a publicly owned Company, the Individual

Defendants had a duty to disseminate accurate and truthful information with respect to Goldman

Sachs financial condition and results of operations, and to correct promptly any public statements

issued by Goldman Sachs which had become materially false or misleading.

          105.   Because of their positions of control and authority as senior officers, the Individual

Defendants were able to, and did, control the contents of the various reports, press releases and

public filings which Goldman Sachs disseminated in the marketplace during the Class Period

concerning Goldman Sachs results of operations. Throughout the Class Period, the Individual

Defendants exercised their power and authority to cause Goldman Sachs to engage in the wrongful



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acts complained of herein. The Individual Defendants therefore, were “controlling persons” of

Goldman Sachs within the meaning of Section 20(a) of the Exchange Act. In this capacity, they

participated in the unlawful conduct alleged which artificially inflated the market price of Goldman

Sachs securities.

         106.   Each of the Individual Defendants, therefore, acted as a controlling person of

Goldman Sachs. By reason of their senior management positions and/or being directors of

Goldman Sachs, each of the Individual Defendants had the power to direct the actions of, and

exercised the same to cause, Goldman Sachs to engage in the unlawful acts and conduct

complained of herein. Each of the Individual Defendants exercised control over the general

operations of Goldman Sachs and possessed the power to control the specific activities which

comprise the primary violations about which Plaintiff and the other members of the Class

complain.

         107.   By reason of the above conduct, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act for the violations committed by Goldman Sachs.


                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiff demands judgment against Defendants as follows:

         A.     Determining that the instant action may be maintained as a class action under Rule

23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the Class representative;

         B.     Requiring Defendants to pay damages sustained by Plaintiff and the Class by reason

of the acts and transactions alleged herein;

         C.     Awarding Plaintiff and the other members of the Class prejudgment and post-

judgment interest, as well as their reasonable attorneys’ fees, expert fees and other costs; and

         D.     Awarding such other and further relief as this Court may deem just and proper.


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                                DEMAND FOR TRIAL BY JURY

         Plaintiff hereby demands a trial by jury.


Dated: December 20, 2018                                  Respectfully submitted,



                                                          POMERANTZ LLP

                                                          /s/ Jeremy A. Lieberman
                                                          Jeremy A. Lieberman
                                                          J. Alexander Hood II
                                                          Jonathan Lindenfeld
                                                          600 Third Avenue, 20th Floor
                                                          New York, New York 10016
                                                          Telephone: (212) 661-1100
                                                          Facsimile: (212) 661-8665
                                                          Email: jalieberman@pomlaw.com
                                                          Email: ahood@pomlaw.com
                                                          Email: jlindenfeld@pomlaw.com

                                                          POMERANTZ LLP
                                                          Patrick V. Dahlstrom
                                                          10 South La Salle Street, Suite 3505
                                                          Chicago, Illinois 60603
                                                          Telephone: (312) 377-1181
                                                          Facsimile: (312) 377-1184
                                                          Email: pdahlstrom@pomlaw.com

                                                          Attorneys for Plaintiff




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